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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

X CORP.,
                Plaintiff,

           v.
                                      Civil Action No. 4:23-cv-01175-O
MEDIA MATTERS FOR AMERICA,
et al.,
           Defendants.



     DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO COMPEL
          PRODUCTION OF DONOR-RELATED DOCUMENTS
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                                        INTRODUCTION

          X’s motion to compel asks this Court to order unfettered disclosure of core privileged

information protected by the First Amendment. To deflect the obvious constitutional prohibition

against such compelled disclosure, X makes up a claim of waiver that is belied by the record and

foreclosed by precedent. There is no serious waiver argument here, and an unbroken line of

authority confirms that the donor information X demands is protected by the First Amendment.

The Court should reject X’s bid to trample upon the constitutional rights of Media Matters and its

donors.

          In reporting on misinformation and hate speech in the U.S. media, Defendants Media

Matters for America, its President and CEO Angelo Carusone, and its Senior Investigative

Reporter Eric Hananoki (collectively, “Media Matters”) have made a lot of enemies. Their

reporting on content moderation and brand safety deficiencies on X resulted in this lawsuit by one

of the world’s richest men, two abusive investigations by state attorneys general, 1 and a deluge of

vitriolic, vulgar, and violent online threats. These threats have gotten worse since X filed this

action. Shortly after the complaint was filed, one harasser sent Mr. Hananoki an image of a noose.

Another emailed a Media Matters reporter a photograph of him and his wife and wrote, “We know

where you live. Expect a visit.” A voicemail received at Media Matters’s office threatened “if you

keep pushing things it will get to a point where there will be violence.” And when the names of

persons believed to be donors to Media Matters became public earlier this year, an avalanche of


1
   The U.S. District Court for the District of Columbia has enjoined Texas and Missouri
investigations arising out of the Media Matters articles at issue here, finding that the investigations
were likely retaliatory in violation of the First Amendment and that Media Matters’s reporting was
likely not defamatory. See Media Matters for America v. Bailey, No. 24-CV-147 (APM), 2024 WL
3924573, at *10 (D.D.C. Aug. 23, 2024); Media Matters for America v. Paxton, No. 24-cv-147
(APM), 2024 WL 1773197, at *18–19 (D.D.C. Apr. 12, 2024).


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vicious attacks quickly followed. “You pedophiles won’t be roaming free for too long,” one poster

wrote on the X platform. Another said, “I want to see the death penalty served on all of them.”

       No one should be subject to these vile threats merely for supporting a cause and

organization they believe in. If X’s motion to compel is granted, the inevitable result will be an

even more expansive chill of the associational rights of Media Matters and its donors. The First

Amendment is meant to protect against exactly this result, by guaranteeing the right to associate

privately—free from interference and harassment—in furtherance of shared civic goals. See

Hastings v. N. E. Indep. Sch. Dist., 615 F.2d 628, 632 (5th Cir. 1980).

       X cannot identify any caselaw requiring organizations to hand over full, unredacted donor

lists to litigation opponents in analogous situations. Instead, it relies heavily on procedural

arguments, urging the Court to skip the substantive question and instead find waiver. But Media

Matters has waived nothing. It asserted First Amendment objections in its very first responses to

X’s requests for donor information, and then refined those objections at X’s own urging. Media

Matters also complied with its privilege log obligations, as set by this Court and as agreed to by

X. Nor can X complain that Media Matters’s first (of five) privilege logs deprived it of a ripe

controversy for motions practice. Media Matters explained to X in July that the dispute was ripe

for judicial resolution; it was X who chose to wait six weeks before presenting its arguments to

the Court.

       The reason that X leans so hard on procedural waiver is that Media Matters prevails on the

substantive merits of its First Amendment defense. As the overwhelming weight of authority

shows, the Constitution’s protections apply in suits between private parties. Courts—including the

Fifth Circuit—have been clear that private litigants may not commandeer the judiciary to order

advocacy organizations to turn over private membership and donor lists. The application of the



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privilege here is similarly straightforward. As Media Matters explains in the accompanying

declaration, the organization has been the target of reprehensible threats of violence, with

employees and donors subject to harassment. Thus, the privilege is at its zenith. Meanwhile, X is

unable to identify any need to discover the personal identities and residential addresses of Media

Matters’s donors sufficient to overcome the privilege.

         Finally, it is not just the First Amendment that X’s discovery requests violate. Because the

requests seek irrelevant information and perpetuate a campaign of harassment against Media

Matters and their donors, they run contrary to the Federal Rules of Civil Procedure.

         The motion to compel should be denied.

                                           ARGUMENT

I.       Defendants have not waived any First Amendment protections.

         X spends half of its brief searching for an argument that Media Matters waived its

objections to identifying donors, but those objections have been carefully preserved—and

exhaustively explained to X—over the entire course of discovery. X’s retelling of the background

to this dispute distracts from the substantive impasse that merits this Court’s attention.

         Media Matters preserved its First Amendment privilege objections. X admits that Media

Matters’s initial responses to X’s requests for production objected to disclosing documents that

would identify donors because the requests were harassing, because the underlying information is

irrelevant to X’s claims, and because the requests sought “disclosure of sensitive financial and

associational information protected by the First Amendment privilege, the production of which

would chill Defendants’ exercise of their First Amendment speech and associational rights.” X

App. 47–49, ECF No. 85 (citing Americans for Prosperity Found. v. Bonta, 594 U.S. 595, 611–13

(2021); NAACP v. State of Ala. ex rel. Patterson, 357 U.S. 449, 460 (1958); Whole Woman’s

Health v. Smith, 896 F.3d 362, 372 (5th Cir. 2018); Perry v. Schwarzenegger, 591 F.3d 1147, 1160

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(9th Cir. 2010)); see also X App. 51–52, 69–70 (same). After X asked Media Matters to remove

“generalized” objections, Media Matters agreed to instead assert these privilege objections on a

document-by-document basis, see La Union Del Pueblo Entero v. Abbott, No. SA-21-CV-00844-

XR, 2022 WL 17574079, at *9 (W.D. Tex. Dec. 9, 2022), but was explicit that it was maintaining

its objections that the requests are inappropriately harassing and sought irrelevant information. See

X App. 128–30; 201–06.

       When X moved in May to compel the production of these documents, Media Matters

explained that X’s efforts to overcome Media Matters’s assertions of privilege were premature

because—again, consistent with X’s own assertions about its understanding of the law and

consistent with Fifth Circuit precedent—Media Matters was reserving claims of privilege until it

identified specific documents that were protected by specific privileges. See ECF No. 62 at 4–5.

Media Matters separately argued that the requests for donor-identifying documents were

inappropriate and harassing grasps for irrelevant information. Id. at 10–13. As to X’s request for

donor identities in particular, Media Matters stated that it was “virtually certain to implicate

privilege,” but proposed that “this Court can avoid altogether the need to adjudicate those

anticipated [privilege] disputes by recognizing that requests for donor identities are inappropriately

harassing and irrelevant.” Id. at 11. The Court did not address Media Matters’s categorical

objections based on harassment and relevance, and—rather than crediting any of X’s arguments

about waiver—it deferred ruling on the anticipated privilege assertions until a privilege “protocol

is established and responsive documents have been identified.” ECF No. 65 at 2.

       The Court initially ordered Defendants to deliver a privilege log to X by June 14, 2024,

given that, at the time, discovery was scheduled to close in July. Id. Recognizing that the expedited

schedule was unsuited to this case, however, X filed a joint motion on June 10 seeking to extend



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the discovery window. ECF No. 66. As the motion explained, the parties agreed “that the requested

extension of deadlines is necessary to allow each side time to comply with the Court’s order” on

X’s motion to compel, and the parties “jointly propose[d] to allow additional time for the review

of documents for potential privilege assertions and production of privilege logs.” Id. at 3 & n.3.

The Court extended discovery by five months and, as the parties had requested, set a June 28

deadline for Media Matters’s first privilege log. ECF No. 69 at 1. The parties subsequently

negotiated a privilege protocol and agreed to a mutual exchange of privilege logs on September 6,

October 11, November 15, and December 17. Defs.’ App. at 4–5, 7–11.

       As promised, Media Matters served its first privilege log on June 28. As contemplated by

the parties’ joint motion, that log did not include every single privileged document conceivably

responsive to X’s many broad requests. Such an approach would have been impossible, and plainly

inconsistent with both the Court’s order extending discovery and the parties’ protocol establishing

additional privilege log exchanges through the rest of the year. Instead, consistent with its

agreement with X, Media Matters logged the documents that it had identified and determined to

be privileged as of the service date. Defs.’ App. at 14 (“With respect to the June 28 ‘Deadline for

Defendants to Provide First Privilege Log and Associated Documents,’ the parties understand that

on June 28 Defendants will produce a log of any privileged documents identified to date, along

with copies of any redacted documents referenced therein, with additional document productions

and privilege logs to follow in accordance with the parties’ forthcoming Privilege Log

Agreement.”). While this first assembly of privileged documents did not include any

communications specifically with donors, that is simply because X’s broad requests (seeking, for

instance, “All documents and communications related to or reflecting [Media Matters’s]

involvement in or knowledge of X and any related entities, individuals, and platforms,” X App.



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14) have swept in enormous quantities of documents for review that, as X agreed in the parties’

joint motion, require far more time and resources to review and log than the original case schedule

provided. See ECF 66 at 2 (“The scope of written discovery and the volume of document review

and collection is significantly exceeding that which the parties anticipated at the time they

conferred for the Joint Report regarding the schedule (ECF No. 13) and pursuant to Rule 26(f).”).2

        Moreover, the present dispute over donor-related discovery was ripe for resolution six

weeks before X filed its motion. Cf. Br. Supp. Mot. to Compel at 2, ECF No. 84 (“Br.”)

(recognizing that “[a]ll parties agree that this issue presents a legal dispute ripe for resolution,”

notwithstanding Media Matters’s first privilege log); see also Defs.’ App. at 29–30. Indeed, the

issue became ripe as early as July 19, when Media Matters served responses and objections to X’s

first set of interrogatories. In response to X’s second interrogatory, which asked Media Matters to

identify its “top 20 funding sources,” Media Matters objected that the request was harassing,

sought irrelevant information, and “represent[ed] a fishing expedition for highly sensitive and

privileged information, the production of which would chill Defendants’ exercise of their First

Amendment speech and associational rights.” Defs.’ App. at 42–43. Thus, as Media Matters

explained to X in subsequent conferrals, there was no need for Media Matters to sift through the

haystack of collected documents to find a donor communication that it could log as privileged to

trigger X’s ability to file a motion on this issue—it could do so based on Media Matters’s objection




2
  The privilege log did, however, include many entries for documents protected by the First
Amendment associational privilege—thus, X’s repeated assertions that Media Matters has “failed”
or “refused” to “log responsive documents withheld on privilege grounds,” Br. at 1, 3, 6–8, is false.

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to X’s interrogatories. Defs.’ App. at 29–30. 3 X nevertheless waited over six weeks to file the

present motion.

        X does not make any mention of this background (or even seek to compel a substantive

response to Interrogatory No. 2), but it firmly establishes that X’s waiver arguments are without

merit: Media Matters did not waive the First Amendment privilege in its first objections, which

explicitly identified the First Amendment privilege. X App. 47–49, 51–52, 69–70. That assertion

of privilege was sufficiently particularized. It explained at length that the requested documents

were sensitive and their disclosure would chill First Amendment speech and associational rights—

with citations to two Supreme Court decisions, a Fifth Circuit decision, and a landmark Ninth

Circuit decision recognized as persuasive by courts across the country, where each decision

describes and applies that privilege that Media Matters identified. X App. 47–49, ECF No. 85

(citing Americans for Prosperity Found. v. Bonta, 594 U.S. 595, 611–13 (2021); NAACP v. State

of Ala. ex rel. Patterson, 357 U.S. 449, 460 (1958); Whole Woman’s Health v. Smith, 896 F.3d

362, 372 (5th Cir. 2018); Perry v. Schwarzenegger, 591 F.3d 1147, 1160 (9th Cir. 2010)); see also

X App. 51–52, 69–70 (same). Media Matters also did not waive the First Amendment privilege by

failing to describe the documents withheld because, as of the date of its first privilege log, it had

not identified any donor-related documents that it was withholding based on privilege. App. Ex. 3

at 14; App. Ex. 4 at 30. And Media Matters did not waive the First Amendment privilege by failing



3
  X is also wrong to assert that because Media Matters has objected to separately searching for
donor-related documents, Media Matters “therefore [has] refused to log documents that are
responsive to X’s requests for production seeking those documents.” Br. at 3. As Media Matters
explained to X during conferrals, documents already collected would likely be responsive to X’s
donor-related requests, and Media Matters assured it would log those privileged documents as they
surfaced in the review process. Indeed, during the more than two months of review since it
submitted its first privilege log, Media Matters has identified several donor-related documents that
are included in its second privilege log.

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to submit a timely privilege log because it did serve a privilege log by the agreed to June 28

deadline, and it will continue to serve privilege logs in accordance with the remaining deadlines. 4

The only purported “deficiency” that X has identified with this log is that it failed to include an

exhaustive list of every responsive document in Media Matters’s control that could be subject to

privilege, but such an approach would be nonsensical in light of the discovery extension ordered

by this Court and the privilege protocol negotiated and agreed to by X.

II.     The donor information that X demands is privileged by the First Amendment.

        As X concedes, the First Amendment associational privilege protects against compelled

disclosure that would adversely affect an organization by “induc[ing] members to withdraw . . .

and dissuad[ing] others from joining it because of fear of exposure of their beliefs shown through

their associations and of the consequences of this exposure.” NAACP, 357 U.S. at 463; cf. Br. at

15. To be protected from disclosure, a movant “need show only a reasonable probability that the

compelled disclosure of [an organization’s] contributors’ names will subject them to threats,

harassment, or reprisals from either Government officials or private parties.” Buckley v. Valeo,

424 U.S. 1, 74 (1976). “The proof may include, for example, specific evidence of past or present

harassment of members due to their associational ties, or of harassment directed against the

organization itself. A pattern of threats or specific manifestations of public hostility may be

sufficient.” Id. Once this prima facie showing is made, the burden shifts to the party seeking the

discovery to demonstrate “an interest in obtaining the disclosures it seeks which is sufficient to

justify the deterrent effect on the free exercise of the constitutionally protected right of



4
 To the extent X’s core concern is that it wants to receive certain categories of documents that it
deems essential to its claims as early as possible, Media Matters proposed a discovery protocol on
August 2 that would frontload the search and production (or logging) of these documents. Defs.’
App. at 25. More than a month later, X still has not responded.

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association.” Perry, 591 F.3d at 1161 (citation omitted). “[T]he party seeking the discovery must

show that the information sought is highly relevant to the claims or defenses in the litigation—a

more demanding standard of relevance than that under Federal Rule of Civil Procedure

26(b)(1).” Id.; accord Whole Women’s Health, 896 F.3d at 372–74 (applying “the Perry balancing

test”). Under this framework, X is not entitled to discover the identities of Media Matters’s donors.

       A.      First Amendment protections extend to discovery disputes between private
               parties.

       The nationwide consensus remains the same as it was the last time the parties briefed this

issue: “the First Amendment privilege applies to discovery orders issued in litigation involving

only private parties.” In re Motor Fuel Temperature Sales Pracs. Litig., 641 F.3d 470, 481 (10th

Cir. 2011). This is because a court order “compelling discovery and the trial court’s enforcement

of that order provide the requisite governmental action that invokes First Amendment scrutiny.”

Grandbouche v. Clancy, 825 F.2d 1463, 1466 (10th Cir. 1987); see also Carrier v. Ravi Zacharias

Int’l Ministries, Inc., No. 1:21-CV-3161-TWT, 2023 WL 2355891, at *4 (N.D. Ga. Mar. 3, 2023)

(recognizing, in dispute between private parties, that “courts have consistently recognized a

qualified associational privilege in the discovery context”); Pulte Home Corp. v. Montgomery

County, No. GJH-14-3955, 2017 WL 1104670, at *3 (D. Md. Mar. 24, 2017) (holding, in dispute

between private parties, that “First Amendment protections apply in the context of discovery

orders”); Flynn v. Square One Distrib., Inc., No. 6:16-mc-25-Orl-37TBS, 2016 WL 2997673, at

*2 n.4 (M.D. Fla. May 25, 2016) (similar); Sierra Club v. Union Elec. Co., No. 4:14-cv-00408-

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Holdings Corp., No. 5:10CV156, 2013 WL 12244352, at *3 (E.D. Tex. Dec. 30, 2013) (similar);

Anderson v. Hale, No. 00 C 2021, 2001 WL 503045, at *3 (N.D. Ill. May 10, 2001) (“This same

balancing test [for the government to overcome the associational privilege] equally applies to cases


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involving two private parties.”); Int’l Soc’y for Krishna Consciousness, Inc. v. Lee, No. 75 Civ.

5388 (MJL), 1985 WL 315, at *9 n.16 (S.D.N.Y. Feb. 28, 1985) (rejecting argument that First

Amendment privilege does not apply in discovery disputes between private parties); cf. Britt v.

Super. Ct. of San Diego Cnty., 574 P.2d 766, 774 (Cal. 1978) (en banc) (holding “the threat to First

Amendment rights may be more severe in a discovery context, since the party directing the inquiry

is a litigation adversary who may well attempt to harass his opponent and gain strategic advantage

by probing deeply into areas which an individual may prefer to keep confidential”).

       The principle that discovery orders implicate state action follows directly from Supreme

Court precedent. In Shelley v. Kraemer, 334 U.S. 1, 14–15 (1948), the Court recognized that the

action of “courts and of judicial officers in their official capacities is to be regarded as action of

the State within the meaning of” the Constitution’s state action requirements. Similarly, in NAACP,

where the Supreme Court reviewed a state court order requiring a private organization to disclose

its membership lists, the Court recognized “[i]t is not of moment that the State has here acted solely

through its judicial branch, for whether legislative or judicial, it is still the application of state

power which we are asked to scrutinize.” 357 U.S. at 463. Since then, the Fifth Circuit and courts

within it have taken the First Amendment privilege as a given, reviewing and adjudicating

privilege assertions among private parties as a matter of course. See, e.g., Whole Woman’s Health,

896 F.3d at 369–70 (favorably reviewing First Amendment privilege claim by private third party

in response to discovery requests from private plaintiffs); Abbott, 2022 WL 17574079, at *9

(“Private Plaintiffs must establish a substantial need for the withheld documents that outweighs

the intrusion into the [private] Defendant Intervenors’ constitutional rights.”); Gueye v. Mike

Bloomberg 2020 Inc., Nos. 4:20-cv-00487-BP through 4:20-cv-00490-BP, 2021 WL 3910341, at

*2 (N.D. Tex. Mar. 12, 2021) (adjudicating First Amendment privilege dispute between private



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parties); Energy Future Holdings Corp., 2013 WL 12244352, at *3 (“Defendants have not

demonstrated an interest in the membership list that is sufficient to justify a potential deterring

effect such a disclosure may have on the free exercise by [Plaintiff’s] members of their

constitutionally protected right of association.”); Mize v. McGraw-Hill, Inc., 82 F.R.D. 475, 478

(S.D. Tex. 1979) (recognizing invocation of First Amendment privilege was sufficient to defeat

motion to compel in suit between private parties).

       Faced with this one-sided caselaw, X misrepresents key authority. In discussing Perry, for

example, the seminal Ninth Circuit case that recognized the First Amendment privilege in a

discovery dispute between private parties, X contends “the governmental action in that case was

unmistakable” because “litigants included government officials” defending a challenge to a state

law. Br. at 11. Equally unmistakable, however, is that none of those government officials were

involved in the discovery dispute at issue—private plaintiffs sought the production of private

defendant-intervenors’ internal campaign communications. Perry, 591 F.3d at 1152. X further tries

to distinguish Gueye as a case where the assertion of privilege was unsuccessful, Br. at 13, but the

mere fact that litigants may not win on every conceivable assertion of privilege does not suggest

that the privilege is altogether unavailable in private litigation. Instead, the court’s careful

application of the Perry test in that case indicates the opposite. Gueye, 2021 WL 3910341, at *2–

3. Finally, X seeks to distinguish Mize as a case applying the reporter’s privilege “by reference to

criminal grand-jury proceedings.” Br. at 13. But the reporter’s privilege is derived from the same

First Amendment at issue here, and X does not provide any explanation of why the state action

analysis would differ. Further, Mize was not a criminal case, and its holding was not contingent on

criminal cases. There, a private plaintiff suing a publisher for defamation sought to compel

disclosure of the identity of a confidential source used in preparing a challenged article, and the



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motion to compel was denied because the information was privileged under the First Amendment.

82 F.R.D. at 476. There is no material distinction from the present case.

        Next, X presses cases that have nothing to do with the First Amendment privilege or

discovery disputes at all. See Br. at 11–12 (citing cases). Henry v. First National Bank of

Clarksdale, 444 F.2d 1300, 1312 (5th Cir. 1971), held that the mere filing of a state court antitrust

suit was not “state action” for purposes of civil rights statutes. Hardy v. Gissendaner, 508 F.2d

1207, 1210–11 (5th Cir. 1975), held that Alabama’s holder-in-due-course statute did not justify

mortgagors’ constitutional claim where the statute was applied without discrimination. Sharp

Corp. v. Hisense USA Corp., 292 F. Supp. 3d 157, 163 (D.D.C. 2017), upheld a Singaporean

arbitral commission’s order that one Asian television manufacturer could not disparage another

Asian television manufacturer while the arbitration was pending. And in Ohno v. Yasuma, 723

F.3d 984, 987 (9th Cir. 2013), the Ninth Circuit held that enforcement of a Japanese damages

award under California’s Uniform Foreign–Country Money Judgments Recognition Act did not

transform the underlying foreign court’s judgment into domestic state action. None of these cases

illuminate the parties’ discovery dispute. 5

        After all of this, X finally admits the obvious: The on-point authority compiled by Media

Matters “supports a qualified privilege and a case-by-case analysis of the disputed materials.” Br.

at 14. That analysis cannot be avoided here and, as discussed below, it requires denial of X’s

motion to compel.




5
 Other out-of-circuit district court decisions that X cites are insufficient to overcome the uniform
consensus within the Fifth Circuit.

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       B.      The First Amendment privilege applies to organizational membership and
               donor lists.

       Courts have consistently applied the First Amendment privilege to shield the identities of

an organization’s members and donors. In NAACP, the Supreme Court noted that “[i]t is hardly a

novel perception that compelled disclosure of affiliation with groups engaged in advocacy” may

effectively restrain the freedom of association, and it emphasized “the vital relationship between

freedom to associate and privacy in one’s associations.” 357 U.S. at 462. X’s assertion that the

Court has limited this protection to “people combatting state-enforced segregation,” Br. at 16, is

simply wrong. In Bonta, for example, the Supreme Court held that the First Amendment

guaranteed a right of anonymity to the major donors of nonprofit organizations that were dedicated

to values such as free markets and religious freedom. 594 U.S. at 602.

       The Fifth Circuit has also applied this privilege far beyond the context of racial

discrimination. In Hastings, for example, the court held that an order compelling disclosure of a

teacher federation’s membership list abridged associational and privacy rights guaranteed by the

First Amendment. 615 F.2d at 631. Based on the federation’s claims that “members have been

harassed,” the court concluded that “[t]o direct disclosure of the membership list would subject

the other members to the very retaliatory measures they seek to avoid.” Id. at 632; see also Whole

Woman’s Health, 896 F.3d at 373 (recognizing as especially “disturbing” the prospect that an

organization could be forced “to turn over to a public policy opponent its internal communications,

setting a precedent that may be replicated in litigation anywhere”); Familias Unidas v. Briscoe,

544 F.2d 182, 192 (5th Cir. 1976) (reversing district court decision to dismiss case based on parent

association’s refusal to disclose its membership information).

       It is similarly common for district courts in this circuit to deny motions to compel advocacy

organizations to produce confidential information (including names and home addresses) about


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their members. In Energy Future Holdings Corp., for example, the court held that the party moving

to compel had “not demonstrated an interest in the membership list that is sufficient to justify a

potential deterring effect such a disclosure may have on the free exercise by [the organization’s]

members of their constitutionally protected right of association.” 2013 WL 12244352, at *3. In

Abbott, the court recognized Republican Party committees’ assertion of associational privilege and

found it allowed them to fully “redact the names of any individual Committee members or

volunteers from all discovery they are required to produce in this litigation.” 2022 WL 17574079,

at *7. And in Young Conservatives of Texas Foundation v. University of North Texas, No. 4:20-

CV-973-SDJ, 2022 WL 2901007 (E.D. Tex. Jan. 11, 2022), the court recognized that members of

the Young Conservatives of Texas Foundation have “been harassed and threatened with physical

violence due to their associational affiliation,” which supported a finding that discovery into the

Foundation’s “members’ names and contact information will chill associational rights.” Id. at *3.

Thus, there can be no dispute that X’s discovery requests implicate the First Amendment privilege.

       C.      There is a reasonable probability that compelled disclosure of Media Matters’s
               donors will subject the donors to threats, harassment, and reprisals.

       Media Matters’s employees and donors have suffered the same manner of abuse that courts

have long recognized creates a right to private association under the First Amendment. This string

of past and present “harassment of members due to their associational ties” and of “harassment

directed against the organization itself” confirms that the privilege applies to Media Matters.

Buckley, 424 U.S. at 74.

        As Mr. Carusone explains in a sworn declaration, threats against Media Matters have

exploded in both number and intensity since X initiated this lawsuit. Carusone Decl. ¶¶ 5–7. Mr.

Hananoki has received messages laced with profanity, racism, and violent threats, including in one

instance an image of a noose. Id. ¶ 8. Another Media Matters reporter received an email with a


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photograph of himself and his wife, with the message, “We know where you live. Expect a visit.”

Id. ¶ 10. Media Matters’s main office, meanwhile, received an email threatening, “[We] know

where your offices are at. We’re coming for you keep looking over your shoulder.” Id. ¶ 12. And

the office has received voicemails referencing this lawsuit and warning, “I think if you keep

pushing it things will get to a point where there will be violence. And I think you’re right near the

top of the list for the baddest fucking motherfuckers on this continent.” Id. ¶ 14; see also id. ¶ 15

(another voicemail threatening, “I may be one of the people that you really don’t want to come up

and visit your offices”). Just last week, Media Matters received an email stating, “Looks like I can

track your funding. Home addresses and bank accounts are next. . . . Every employee at, media

matters is considered an enemy to the USA and will be executed.” Id. ¶ 22.

       Posts on the X platform directed at Media Matters and its affiliates have been especially

horrific. On May 23, 2024, for example, after a former Media Matters employee posted about the

toll that this lawsuit has been taking on Media Matters, one user posted, “I’m starting a

woodchipper manufacturing company and need some testers, and I think your colleagues would

be qualified.” Id. ¶ 19. Referencing the conspiracy theory that culminated in a man opening fire

on a Washington, D.C. pizza restaurant, another posted, “Fuck you @mmfa. . . . #pizzagate never

concluded. We are coming for you, we never forgot, and we will never forgive.” Id. ¶ 17.

       Similar threats have also been aimed at Media Matters’s donors. After the Free Beacon

posted an alleged “leaked donor list” of Media Matters’s “five largest contributors,” there was an

eruption of violent and hateful threats. One user posted a picture of Musk firing a .50 caliber

weapon and edited the photo to look as though Musk was shooting at Media Matters’s logo; others

posted antisemitic harassment and slurs. Id. ¶ 26. X users repeatedly called for arrests, treason

trials, and the “death penalty” for these donors. Id. ¶ 29. This abuse has gotten so bad that some



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“donors and potential donors have [already] expressed concerns for their own privacy and personal

safety,” id. at ¶ 32, and MMFA expects donors will “discontinue their support for and affiliation

with Media Matters if they expected their identities could be shared with X,”. id. ¶ 35. Indeed,

“[c]ash flows to MMFA have already been affected by the threats and risks associated with the

potential that some donors’ identities will be disclosed because of this litigation.” Id. ¶ 33.

       Media Matters has done what it can to protect the physical safety of its employees working

in its Washington, D.C. office, including by reimbursing the costs of home security systems, and

placing security guards at the reception of its office when threats spike. Id. ¶ 31. But it is not

feasible to offer similar protections to donors nationwide. Like the members of the American

Foundation for Prosperity who were at the center of the controversy in the Supreme Court’s First

Amendment decision in Bonta, Media Matters’s donors depend on the First Amendment privilege

to avoid retaliatory threats to their safety and livelihood. See 594 U.S. at 617. As the Supreme

Court recognized, the risks of protests, stalking, and physical violence “are heightened in the 21st

century and seem to grow with each passing year, as ‘anyone with access to a computer [can]

compile a wealth of information about’ anyone else, including such sensitive details as a person’s

home address or the school attended by his children.” Id. Media Matters’s donors similarly have

an overwhelming interest in maintaining the privacy of their affiliation with the organization, and

Media Matters has a reciprocal interest in protecting its association with the very people who fund

its First Amendment-protected journalism.

       D.      X cannot show that donor names are “highly relevant” to its claims.

       X cannot carry its burden to “show that the information sought is highly relevant” to its

claims. Perry, 591 F.3d at 1161. Instead, X’s interests in the identities of Media Matters’s donors

are entirely nonexistent.



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       To justify its demand for these maximally sensitive documents, X has settled on three

possible bases for relevance. First, X says that the information is relevant “to see how Defendants

have availed themselves of Texas.” Br. at 14. But X has not identified any reason why it needs the

names and home addresses of Media Matters’s donors to determine the extent of Media Matters’s

availment. Further, those contacts would be relevant to personal jurisdiction only to the extent that

X’s claims “arise out of or relate to” Media Matters’s purposeful contacts with the forum state.

Johnson v. TheHuffingtonPost.com, 21 F.4th 314, 317 (5th Cir. 2021). Thus, X’s first purported

justification for donor-related information would extend only to documents and communications

showing, at most, how often and in what ways Media Matters has solicited donations from Texans

in preparing and publishing the challenged articles. Far from claiming privilege over this

information, however, Media Matters has provided it—confirming that no such documents exist.

See App. Supp. Mot. to Dismiss, Ex. B ¶ 13, ECF No. 42 (Mr. Hananoki did not solicit Texas

donors for Media Matters in connection with the articles); id. Ex. C ¶ 4 (Mr. Carusone has not

sought any donations from individuals or organizations in Texas earmarked to fund Media

Matters’s work related to X Corp.). Because “a party cannot produce what it does not have . . .

the court cannot compel a party to produce non-existent documents.” Samsung Elecs. Am., 321

F.R.D. at 299 (cleaned up).

       X’s other two purported bases for seeking donor-related documents—“to see how

Defendants funded their tortious conduct” and “to see if they are profiting or seeking to improve

their financial condition from their disparagement,” Br. at 14—also are not sufficient to overcome

the First Amendment privilege. X conspicuously makes no effort to explain how the identities and

addresses of all donors nationwide are relevant to these supposed justifications; nor does it explain

how either of these justifications is relevant to their claims. X merely recites a conclusory assertion



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that the information is relevant to “compensatory damages” and “punitive damages,” id., but

neither is correct.

        “Compensatory damages in defamation cases must compensate for ‘actual injuries’ and

cannot merely be ‘a disguised disapproval of the defendant.’” Brady v. Klentzman, 515 S.W.3d

878, 887 (Tex. 2017) (citation omitted). If X succeeds on its claims, the amount of compensatory

damages will turn on what X can prove about its own lost advertising revenue and reputational

injury within the relevant community; not on who donated to Defendants. Likewise, the

appropriate amount of punitive damages depends on (1) the degree of reprehensibility of the

defendant’s misconduct, with conduct that endangers a person’s health or safety meriting more

punishment than merely economic harm; (2) the amount of actual damages; and (3) a comparison

to other penalties that could be awarded for similar misconduct. See Owens-Corning Fiberglas

Corp. v. Malone, 972 S.W.2d 35, 45 (Tex. 1998). Again, none of these factors require identification

of Media Matters’s donors. If X has some other relevancy hook in mind—or any legal support for

its cursory insinuations—no such explanation has been provided and Media Matters cannot be

required to guess at it.

        Finally, the existence of a protective order does not defeat Media Matters’s privilege. As

the Supreme Court recognized in Bonta, the right to anonymity remains paramount even where

the proposed recipients of donor information are required by law to keep donor identities

confidential. 594 U.S. at 616 (“Our cases have said that disclosure requirements can chill

association even if there is no disclosure to the general public.” (cleaned up)); see also Energy

Future Holdings Corp., 2013 WL 12244352, at *3 (“[A]ssuming the requested information is

relevant, the Court is not convinced the protective order would insulate [the advocacy

organization’s] members against the risk of public disclosure.”). Here, as described above, donor



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identities are not relevant—let alone essential—to X’s claims, and the volume and intensity of

violent threats hurled at everyone affiliated with Media Matters since the inception of this lawsuit

requires full application of the First Amendment privilege.

III.   X’s harassing requests for irrelevant donor information fall outside the proper
       scope of discovery.

       If this Court determines that the First Amendment privilege does not apply, the motion to

compel should still be denied because the requests are harassing and seek irrelevant information.

The Federal Rules limit the scope of discovery to nonprivileged matters that are “relevant to any

party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).

Applying this test, courts are to consider “the importance of the issues at stake in the action, the

amount in controversy, the parties’ relative access to relevant information, the parties’ resources,

the importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” Id. Courts “must limit the frequency or extent of

discovery otherwise allowed” if “the proposed discovery is outside the scope permitted by Rule

26(b)(1).” Fed. R. Civ. P. 26(b)(2)(C).

       By X’s own telling, “the central allegation that X raises in its amended complaint [is]

Defendants’ tortious interference with X’s advertisers through the publication of two deeply

misleading articles about the company’s social media platform.” ECF No. 60 at 1. As explained

above, X’s requests for donor-related documents have nothing to do with this subject matter. And

to the extent Media Matters’s donor solicitations could bolster X’s attempt to trigger jurisdiction

in Texas, X can offer no reason why such a request would require disclosure of donor identities

(and, as X has already been informed, Mr. Hananoki did not solicit Texas donors for Media Matters

in connection with the articles and Mr. Carusone has not sought any donations from individuals or

organizations in Texas earmarked to fund Media Matters’s work related to X Corp.). In short, X’s


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donor-related requests constitute naked harassment. See Hickman v. Taylor, 329 U.S. 495, 507–08

(1947) (“[D]iscovery, like all matters of procedure, has ultimate and necessary boundaries,” and

may not be “conducted in bad faith or in such a manner as to annoy, embarrass or oppress the

person subject to the inquiry.”).

        Donor identities are not “important[t to] the issues at stake in the action,” and the burden

of the proposed discovery—on Media Matters, and, given the invitation to harassment, on the

donors themselves—clearly “outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). Here, a deep-

pocketed litigant is striking at the financial jugular of a nonprofit organization, threatening its very

existence through abusive discovery. Musk has made the harassment explicit, using the X platform

to decry Media Matters as “an evil propaganda machine [that] can go to hell” and declaring that

“we will pursue not just [Media Matters], but anyone funding that organization. I want to be clear

about that. Anyone funding the organization, we will pursue them.” 6 X’s motivation to target

donors for harassment does not need to be inferred—it has been openly admitted.

        “Judges are trusted to prevent ‘fishing expeditions’ or an undirected rummaging through

. . . records for evidence of some unknown wrongdoing.” Cuomo v. Clearing House Ass’n, LLC,

557 U.S. 519, 531 (2009). Because X’s requests for donor identities are based on no more than a

“purely speculative hope that” they will “reveal a long-running and intricately-planned

conspiracy,” the motion to compel should be denied. Hamilton v. Geithner, No. 1:08cv1112 (JCC),

2009 WL 2240358, at *2 (E.D. Va. July 23, 2009).

                                          CONCLUSION

        The Court should deny X’s motion to compel.



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  @TheChiefNerd, X.com (Dec. 10, 2023, 4:24 PM) https://x.com/thechiefnerd/status/
1733960832571122115?s=46&t=PN52ydwTvFusTeuJ-h77RA [https://perma.cc/6L3M-SHX3]

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Dated: September 6, 2024.

Respectfully submitted,
/s/ Andrew LeGrand

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                                 CERTIFICATE OF SERVICE

       On September 6, 2024, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      /s/ Andrew LeGrand
                                                      Andrew LeGrand




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